     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1028 Page 1 of 14




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                           UNITED STATES DISTRICT COURT
20
                         SOUTHERN DISTRICT OF CALIFORNIA
21
      CALIFORNIA MARINE CLEANING,) Case No.: 3:22-cv-00741-LAB-BLM
22
      INC.,                      )
23              Plaintiff,       ) In Admiralty
                                 )
24
            vs.                  )
25                               ) UNITED STATES’ MOTION IN
      UNITED STATES OF AMERICA, ) LIMINE NO. 1 TO EXCLUDE NON-
26
      THROUGH THE DEPARTMENT OF ) DISCLOSED WITNESSES
27    THE NAVY,                  )
                Defendant.       )
28
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 1   Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1029 Page 2 of 14




 1          The United States moves to exclude Plaintiff’s non-disclosed witnesses from
 2    presenting evidence at trial. These witnesses are:
 3          1. Vice Admiral Scott Conn, U.S. Navy (Ret.);
 4          2. Vice Admiral DeWolfe Miller III, U.S. Navy (Ret.);
 5          3. Rear Admiral Jon Kott, U.S. Navy (Ret.);
 6          4. Leslie Girard;
 7          5. Alexander Gordon;
 8          6. Henry Duenas;
 9          7. An unidentified “Custodian of Records for the United States related to
10    contract N0002418C4404;”
11          8. An unidentified “Custodian of Records for the United States related to the
12    fire report authored by Vice Admiral Scott Conn;”
13          9. Francisco Medina; and
14          10. Greg Correnti.
15          In plain violation of the Court’s Scheduling Order, and without seeking leave
16    of court, Plaintiff never disclosed these witnesses until December 4, 2023, when it
17    served and filed with the Court its Pretrial Disclosures (styled as a “Witness List”).
18    ECF No. 30. There is no imaginable justification for Plaintiff’s delay, which at this
19    stage of the proceedings is tantamount to non-disclosure.
20           PROCEDURAL BACKGROUND AND RELEVANT FACTS
21          In accordance with the Court’s Notice and Order for Early Neutral Evaluation
22    Conference and Case Management Conference, Initial Disclosures in this case were
23    required to be exchanged no later than August 30, 2022. ECF No. 5, ¶ 6.c. On
24    August 30, 2022, Plaintiff, California Marine Cleaning, Inc. (“Cal Marine”), served
25    its Initial Disclosures on the United States (Attached hereto as Exhibit “A” to the
26    Declaration of Kyle Fralick) (hereafter “Fralick Declaration”). Cal Marine’s Initial
27    Disclosures listed the names of three individuals: Joshua Carr, Kirk Boettner, and
28    Matt Carr.    Cal Marine’s next disclosures were Pretrial Disclosures, which
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 1         Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1030 Page 3 of 14




 1    according to the Court’s August 18, 2023 Scheduling Order were required to be
 2    exchanged by December 4, 2023. ECF No. 23, ¶ 4. Cal Marine served its Pretrial
 3    Disclosures on the United States via ECF on the due date. See ECF Nos. 29 and
 4    30. 1
 5            The deadline for fact discovery in this case was March 6, 2023. ECF No. 9,
 6    ¶ 3. On August 29, 2023, Cal Marine moved to reopen fact discovery (ECF No.
 7    25), which the United States opposed (ECF No. 26). After Cal Marine filed its reply
 8    (ECF No. 27), the Court denied Cal Marine’s motion, finding “Plaintiff has failed
 9    to demonstrate good cause for its request to reopen discovery and amend the
10    scheduling order. As an initial matter, Plaintiff has failed to demonstrate reasonable
11    diligence.” ECF No. 28 at 6. The Court added, “Plaintiff’s lack of diligence is
12    further exacerbated by its apparent failure to conduct any discovery during the
13    discovery period authorized by the Court.” Id. at 7 (emphasis in original). Indeed,
14    Cal Marine served no document requests, no interrogatories, no requests for
15    admission, and conducted only one deposition of the United States’ expert which
16    was a mere 25 minutes long.
17            Between its Initial Disclosures made on August 30, 2022, and its Pretrial
18    Disclosures made on December 4, 2023, Cal Marine did not supplement its
19    disclosures or otherwise identify the witnesses above in the case. At 5:45 p.m. on
20    Friday, January 19, Cal Marine served its “Supplement to Initial Disclosures Under
21    Federal Rule of Civil Procedure 26,” ten months after the close of discovery, six
22    weeks after Cal Marine served its pretrial disclosures, three weeks after the United
23    States provided Cal Marine’s counsel with its additions to the proposed pretrial
24

25
      1 In a letter to Cal Marine’s Counsel, the United States notified Plaintiff regarding
26
      its views of the untimely disclosed witnesses. (Attached hereto as Exhibit “B” to
27    the Fralick Declaration). The matter was also discussed during a meet and confer
28    between the parties on Dec. 11, 2023. The United States requested Cal Marine
      withdraw its late disclosed witnesses. Counsel for Cal Marine declined to do so.
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 2         Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1031 Page 4 of 14




 1    order, in which the United States objected to any exhibit and witness identified by
 2    Cal Marine based on Cal Marine’s failure to disclose, two weeks after Cal Marine
 3    lodged the proposed pretrial order and, finally, nearly two weeks after the Court
 4    held its pretrial conference. 2 Such dilatory conduct by Cal Marine should not be
 5    tolerated and as discussed more fully below, the United States has been prejudiced
 6    by such actions on the part of Cal Marine.
 7                                       DISCUSSION
 8

 9
            I. Cal Marine Failed to Timely Supplement its Disclosures as Required
               by Fed. R. Civ. P. Rules 26(e) and 37(c), Which Failure was Neither
10              Justified nor Harmless.
11
            Fed. R. Civ. P. 37(c)(1) states, “Failure to Disclose or Supplement. If a party
12
      fails to provide information or identify a witness as required by Rule 26(a) or (e),
13
      the party is not allowed to use that information or witness to supply evidence on a
14
      motion, at a hearing, or at a trial, unless the failure was substantially justified or is
15
      harmless.” With respect to fact witnesses, disclosure “must be made sufficiently in
16
      advance of the close of discovery for the party-opponent to have a reasonable
17
      opportunity to pursue discovery of these witnesses.” Obesity Research Inst. v. Fiber
18
      Research Int’l, LLC, 2016 WL 1394280, *2 (S.D. Cal. Apr. 8, 2016) (citing Ashman
19
      v. Selectron, Inc., 2010 WL 3069314, *4 (N.D. Cal. Aug. 4, 2010)). Disclosing a
20
      witness for the first time in Pretrial Disclosures is presumptively untimely. Obesity
21
      Research Inst., 2016 WL 1394280 at *2 (holding that amended disclosures served
22
      after the close of discovery were presumptively untimely).
23
            Cal Marine’s attempt to insulate itself from its failure to abide by this Court’s
24
      scheduling orders and the Federal Rules of Civil Procedure by attempting to
25

26

27

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      2
       Attached to the Fralick Declaration as Exhibit “C” is a true and correct copy of
      Cal Marine’s Supplemental Disclosures.
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 3           Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1032 Page 5 of 14




 1    “supplement” its disclosures on the eve of trial, and ten months after the close of
 2    discovery, should not be endorsed by the Court. As discussed above, with respect
 3    to fact witnesses, disclosure “must be made sufficiently in advance of the close of
 4    discovery for the party-opponent to have a reasonable opportunity to pursue
 5    discovery of these witnesses.” Obesity Research Ins., supra. In this case, discovery
 6    has long been closed and the United States has been prejudiced by Cal Marine’s
 7    attempt to supplement its disclosures pursuant to Rule 26 of the Fed. R. Civ. P. as
 8    it has not been afforded the opportunity pursue discovery of these witnesses.
 9          “Timely and careful compliance with the requirements of Rule 26(a) is
10    essential, both as a matter of fairness to litigants and as a matter of orderly procedure
11    during … events which occur in the final phases of discovery, motion work and trial
12    preparation.” Adan v. Insight Investigations, Inc., 2017 WL 4244877, *2 (S.D. Cal.
13    Sept. 25, 2017) (quoting Garcia v. Qwest Corp., 2008 WL 4531657, *2 (D. Ariz.
14    Oct 3, 2008)). Factors that district courts may consider in determining whether a
15    violation of a discovery deadline is justified or harmless are: “(1) prejudice or
16    surprise to the party against whom the evidence is offered; (2) the ability of that
17    party to cure the prejudice; (3) the likelihood of disruption of the trial; and (4) bad
18    faith or willfulness involved in not timely disclosing the evidence.” Lanard Toys
19    Ltd. v. Novelty, Inc., 375 Fed. Appx. 705, 713 (9th Cir. 2010) (citing David v.
20    Caterpillar, Inc., 324 F.3d 851, 857 (7th Cir. 2003)). “The party facing sanctions
21    bears the burden of proving that its failure to disclose the required information was
22    substantially justified or is harmless.” R&R Sails, Inc. v. Insurance Co. of
23    Pennsylvania, 673 F.3d 1240, 1246 (9th Cir. 2012).
24          It is indisputable that Plaintiff did not timely identify or disclose the ten
25    witnesses listed above before its Pretrial Disclosures on December 4, 2023.
26    Applying the Lanard Toys factors this failure was neither justified nor harmless.
27    //
28    //
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 4           Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1033 Page 6 of 14




 1
                   A. The United States is Both Prejudiced and Surprised by Cal
                      Marine’s Late Disclosures.
 2

 3          As stated above, Cal Marine’s disclosures of these witnesses comes ten
 4    months after the close of fact discovery. The United States has no ability at this
 5    point to conduct any discovery into these witnesses and is unable to adequately
 6    prepare for trial. Without more, this is prejudicial to the United States and should
 7    result in the witnesses being excluded. However, the United States is also surprised
 8    by the extremely tardy disclosures of these witnesses, most or all of whom were
 9    well known to Cal Marine or could have been easily discovered had Cal Marine
10    conducted any discovery at all, which it did not do.
11          For instance, based on emails produced by Cal Marine as part of initial
12    disclosures, Francisco Medina is a NASSCO employee with whom Cal Marine had
13    corresponded regarding its REA claim. See Exhibit “D” attached to the Fralick
14    Declaration. These communications occurred months before Cal Marine filed this
15    lawsuit. If Cal Marine thought Mr. Medina had discoverable information, then it
16    was under an obligation to disclose his name in its initial disclosures or, at the very
17    least, in a supplemental disclosure before the end of fact discovery. See Fed. R.
18    Civ. P 26(a)(1)(A)(i) (“…a party must…provide to the other parties…the name and,
19    if known, the address and telephone number of each individual likely to have
20    discoverable information…”) (emphasis added).          Instead, choosing the route of
21    surprise, Cal Marine did neither and disclosed Mr. Medina for the first time in its
22    Pretrial Disclosures ten months after discovery closed. Likewise, if Cal Marine had
23    conducted any discovery at all, it could have learned whether the Navy has records
24    custodians related to this case and, if so, their names. Instead, Cal Marine opted to
25    ambush the United States and apparently expects it to find, contact, and produce
26    such a witness for Cal Marine at trial. See ECF No. 30 at 2. The rules place no
27    such obligation on the United States.
28


      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 5          Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1034 Page 7 of 14




 1          The United States is similarly surprised by Cal Marine’s late disclosure of
 2    three retired Navy Admirals. Presumably Cal Marine culled these names from the
 3    approximately 20 unredacted names of Navy officials in the Navy’s publicly
 4    available report of investigation into the USS Bonhomme Richard fire. However,
 5    Cal Marine listed the Navy’s public report in its initial disclosures yet like with Mr.
 6    Medina, it has never disclosed the names of the three retired Admirals despite this
 7    information being in its possession since the inception of this lawsuit. 3
 8          Nor was the United States fairly on notice that Cal Marine intended to call
 9    any of the three retired Admirals at trial. It bears repeating that Cal Marine never
10    conducted any discovery into these witnesses – not a single request for production
11    of documents, interrogatory, request for admission, or notice of deposition. Their
12    names did not come up in the case until long after fact discovery closed when the
13    United States learned Counsel for Cal Marine contacted Vice Admiral Conn
14    through social media, sent him a letter warning him that he was going to be
15    subpoenaed for trial, and even called his wife’s personal cell phone. Attached
16    hereto as Exhibits “E” and “F” to the Fralick Declaration. Cal Marine’s contact
17    with Vice Admiral Conn at this stage of the case runs afoul of federal law and
18    regulation that protects against impermissible disclosure of official government
19    information. See United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951); and
20    32 C.F.R. §§ 725.1 et seq. These belated discovery attempts also deprived the
21    United States of rights it may have had to object to Vice Admiral Conn or the other
22    senior Navy officials from participating in this case. Finally, Vice Admiral Conn
23    lives and works more than 100 miles from this Court so Cal Marine’s
24

25
      3
         The United States further notes that the Navy’s report of investigation into the
26
      USS Bonhomme Richard fire identifies over 100 individuals. It was not the United
27    States responsibility to anticipate which individual Cal Marine planed on calling at
28    trial. Cal Marine had an affirmative duty to identify all witnesses it claimed had
      discoverable information in its Fed. R. Civ. P. 26 initial disclosures.
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 6          Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1035 Page 8 of 14




 1    representations that it can subpoena Vice Admiral Conn to testify at trial are plainly
 2    false and serve no purpose other than to intimidate and harass.
 3          Having conducted no discovery in the allotted time for doing so, Cal Marine
 4    appears to be trying to make up for that deficiency now. However, at this stage of
 5    the proceedings, disclosing for the first time ten fact witnesses is both prejudicial
 6    and surprising to the United States.
 7                 B. Cal Marine Cannot Cure the Prejudice it Caused.
 8          Not only is the United States prejudiced and surprised by Cal Marine’s late
 9    witness disclosures, but the disclosures also come at such an advanced stage of the
10    litigation that Cal Marine cannot practically cure its untimely conduct. To do so
11    would require the Court’s permission to reopen a lengthy period of fact and,
12    possibly, expert discovery. This alone supports a finding that Cal Marine’s failure
13    to timely disclose was not harmless. See Hoffman v. Constr. Protective Services,
14    Inc., 541 F.3d 1175, 1180 (9th Cir. 2008) (Failure to disclose damages calculation
15    was not harmless where there was a possibility the court would have to create a new
16    briefing schedule and perhaps re-open discovery).
17          Moreover, Cal Marine attempted to reopen discovery once before, which
18    attempt was soundly rejected by Magistrate Judge Major. See ECF No. 28. There
19    is absolutely no reasonable basis in law or fact for reopening discovery now at a
20    later stage in the litigation when the parties and the Court should be simplifying the
21    triable issues. See LR 16.1(f)(4) and (5). Cal Marine’s conduct is doing just the
22    opposite.
23                 C. The Trial will be Disrupted.
24          Undoubtedly if the Court were to allow these late-disclosed witnesses to
25    present evidence at trial, the proceedings would be extremely disrupted. Because
26    the witnesses are being disclosed after fact discovery, the United States (and very
27    likely Cal Marine also) has not conducted any discovery into what information these
28    witnesses have. The facts or information which these witnesses may have has never
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 7         Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1036 Page 9 of 14




 1    been the subject of a request for production of documents, an interrogatory, or
 2    request for admission. Nor have any of these witnesses been deposed. What’s
 3    more, Cal Marine doesn’t even identify two of the witnesses by name, which
 4    highlights the impropriety of Cal Marine’s witness disclosures. Plainly, Rule 26(a)
 5    requires the name of the person being disclosed. If Cal Marine was seeking an
 6    unknown Navy custodian of records, it should have served an interrogatory to that
 7    effect or noticed a deposition a year ago during discovery. But on the eve of trial,
 8    Cal Marine’s disclosure of these witnesses for the first time in its Pretrial
 9    Disclosures, like the rest of the witnesses identified above, will serve only to
10    disrupt, and delay trial.
11                 D. Cal Marine’s Conduct was Both Willful and in Bad Faith.
12          Regarding bad faith or willfulness of Cal Marine’s late disclosures, it’s hard
13    to conjure any other reasonable explanation for Plaintiff’s conduct. As discussed
14    above, most - or all of these witnesses - have long been known to Cal Marine so it’s
15    inexcusable they are only being disclosed now and in bald disregard of the Court’s
16    scheduling order and the Federal Rules of Civil Procedure. If these witnesses were
17    previously unknown, or unknowable, to Cal Marine, its plausible their late
18    disclosure could be the result of something other than willfulness. However, as
19    here, when the witnesses are fully known and there is no reasonable explanation for
20    their late disclosure, whether through inadvertence, neglect, or purposeful intent,
21    the conduct is willful.
22           More importantly, however, some of the newly disclosed witnesses are
23    clearly aimed at discovering information at trial which Cal Marine had sought to
24    explore when it moved to reopen discovery. For example, Alex Gordon was the
25    Navy contracting officer handling the USS Bonhomme Richard repair contract and
26    was involved in the Request for Equitable Adjustment (“REA”) following the fire
27    on the ship. Though it was months after the discovery deadline, Cal Marine served
28    written discovery - its first in the case - on the United States concerning Alex
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 8        Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1037 Page 10 of 14




 1    Gordon and information he may have regarding the REA. Cal Marine included the
 2    same request in its subsequent motion to reopen discovery. The Court denied Cal
 3    Marine’s request to reopen discovery on that issue. In light of the Court denying
 4    Cal Marine additional time for discovery on this topic, it’s nothing other than bad
 5    faith by Cal Marine to now attempt to discover that same information at trial for the
 6    first time.4 This attempt to undermine the Court’s order denying Cal Marine’s
 7    motion to reopen discovery should not be allowed and, moreover, to allow
 8    additional time for discovery at this late stage of litigation belies the intent and
 9    purpose of the federal discovery rules which seek to avoid such gamesmanship and
10    surprise. See Obesity Research Inst., supra, 2016 WL 1394280 at *1 (analyzing the
11    Advisory Committee’s note to the 1993 amendment to Rule 26(a)(1)).
12          In sum, disclosure of the ten witnesses identified above for the first time in
13    Cal Marine’s Pretrial Disclosures on December 4, 2023, and its last ditch effort to
14    supplement its Fed. R. Civ. P. 26 disclosures on the eve of trial, is tantamount to
15    nondisclosure. Consequently, the Court should exclude these witnesses from trial.
16
            II. The Court has Significant Discretion to Craft a Remedy
17              Commensurate with the Violation and Should Exclude the Witnesses
18
                 As Well As Consider More Severe Sanctions.

19          “Parties must understand that they will pay a price for failure to comply
20    strictly with scheduling and other orders, and that failure to do so may properly
21    support severe sanctions and exclusions of evidence.” Wong v. Regents of Univ. of
22    Cal., 410 F.3d 1051, 1060 (9th Cir. 2005). Likewise, the consequences for violating
23    Rule 26(a) are significant and in addition to, or instead of, excluding evidence,
24

25
      4The United States submits that Cal Marine may have disclosed for this same
26
      purpose Leslie Girard, Francisco Medina, Greg Correnti, and an unidentified
27    “Custodian of Records for the United States related to contract N0002418C4404.”
28    To the United States’ knowledge, these individuals have no information related to
      the case other than potentially about the REA.
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 9        Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1038 Page 11 of 14




 1    courts may impose expenses and fees, strike claims or defenses, stay procedures,
 2    dismiss the action in whole or in part, or render default judgment against the
 3    culpable party. Adan, 2017 WL4244877 at *2 (citing Fed. R. Civ. P. 37(b)(2)(A)
 4    and (c)). District courts have significant discretion to fashion an appropriate remedy
 5    in this regard. See Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101,
 6    1106 (9th Cir. 2001) (“Furthermore, although we review every discovery sanction
 7    for an abuse of discretion, we give particularly wide latitude to the district court’s
 8    discretion to issue sanctions under Rule 37(c)(1).”).
 9          At a minimum, the Court here should exclude each of Cal Marine’s late-
10    disclosed witnesses. This is the remedy contemplated by the plain text of the rule
11    and there is ample authority in the Ninth Circuit and this District for such a remedy.
12    See e.g., Ollier v. Sweetwater Union High School Dist., 768 F.3d 843 (9th Cir. 2014)
13    (Affirming district court’s exclusion of fact witnesses disclosed 15 months after fact
14    discovery cutoff and ten months before trial); Patton v. First Light Prop. Mgmt.,
15    Inc, 2016 WL 9503737 (S.D. Cal. Nov. 8, 2016) (Excluding witnesses and evidence
16    disclosed in supplemental initial disclosures served after the fact discovery
17    deadline); and Obesity Research Inst., 2016 WL 1394280 (Precluding the use of
18    numerous witnesses disclosed on the last day of fact discovery). 5
19

20

21
      5See also Palmer v. Cognizant Tech. Solutions Corp., 2023 WL 4155400 (C.D.
      Cal. May 16, 2023) (Excluding nine fact witnesses disclosed after the fact
22    discovery deadline); Lopez v. Lopez, 202 WL 2043996 (C.D. Cal. Jan. 23, 2020)
23    (Granting motion in limine to preclude testimony of witness disclosed one day
      before fact discovery deadline); Markson v. CRST Int’l, Inc., 2021 WL 5969519
24
      (C.D. Cal. Nov. 23, 2021) (striking as untimely four fact witnesses disclosed in a
25    supplemental disclosure on the day fact discovery closed); Sanders v. Univ. of
      Idaho, College of Law, 2022 WL 4536751 (D. Id. Sept. 28, 2022) (Excluding six
26
      witnesses disclosed for the first time months after the fact discovery deadline.);
27    L.A. v. Riverside Military Academy Foundation, Inc., 2021 WL 8998914 (N.D.
28    Ga. Sept. 30, 2021) (Excluding witnesses disclosed for the first time two weeks
      before the Consolidated Pretrial Order was due); and Reed v. Washington Area
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 10        Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1039 Page 12 of 14




 1          However, based on the nature and circumstances of this violation and the
 2    others that Cal Marine has committed which are the subject of separate Motions in
 3    Limine, the United States submits that at the Court’s discretion a more severe
 4    sanction may be warranted. Cal Marine has engaged in a pattern of repeated
 5    violations of this Court’s orders and the Federal Rules of Civil Procedure. To
 6    summarize, in addition to these ten late-disclosed witnesses, Cal Marine attempted
 7    to designate non-retained experts after the deadline, moved to reopen discovery
 8    despite having conducted no discovery during the time period for doing so, abused
 9    the Court’s subpoena power and then failed to timely serve the United States with
10    the improper subpoenas, and ten months after the close of discovery attempted ex-
11    parte contact with former Navy employees for official information related to the
12    case. Accordingly, the Court should not only exclude these late-disclosed witnesses
13    from all further proceedings in this case but should also consider whether a more
14    severe sanction is warranted.
15                                      CONCLUSION
16          Considering Plaintiff’s lack of diligence in discovery, the prejudice and
17    surprise occasioned on the United States by these late disclosures, the disruption it
18    will cause to an orderly trial, and the disregard of the Court’s deadlines and the
19    Federal Rules of Civil Procedure, the Court should exclude each of the witnesses
20    above from supplying evidence on a motion, or at a hearing or trial. Cal Marine’s
21    failure in this regard is neither substantially justified nor harmless. Further, based
22    on the pattern of rule violations and evidence of willfulness and bad faith, the Court
23    should consider more severe sanctions.
24

25

26

27    Metropolitan Transit Authority, 2014 WL 2967920, *2 (E.D. Va. July 1, 2014)
28    (“Making a supplemental disclosure of known facts witnesses a mere two days
      before the close of discovery, as is the case here, is not timely by any definition.”).
      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 11         Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1040 Page 13 of 14




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      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 12       Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
     Case 3:22-cv-00741-JO-BLM Document 37 Filed 02/12/24 PageID.1041 Page 14 of 14




 1
                                CERTIFICATE OF SERVICE
 2
            I hereby certify that, on February 12, 2024, a true and correct copy of the
 3
      foregoing UNITED STATES’ MOTION IN LIMINE NO. 1 TO EXCLUDE NON-
 4
      DISCLOSED WITNESSES was served electronically through CM/ECF on:
 5

 6
            WALT PENNINGTON
 7          wpennington@pennfirm.com
 8
            PENNINGTON LAW FIRM
 9          Attorney for Plaintiff
10          CALIFORNIA MARINE
            CLEANING, INC.
11

12

13
                                        /s/Kyle Fralick
                                        KYLE FRALICK
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      U.S.’ MOTION IN LIMINE NO. 1 TO EXCLUDE 13     Case No.: 3:22-cv-00741-LAB-BLM
      NON-DISCLOSED WITNESSES
